IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
NORTHERN DIVISION

FILED
NO. 2:96-CV-45-BO(1) Y g 03
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UNITED STATES OF AMERICA, oAE IA DON AE
Plaintif€,
v. AGREED FINAL ORDER
IN GARNISHMENT
CARROLL RUDOLPH POPE and AS TO

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TERESA T. POPE, ) TERESA T. POPE

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Judgment Defendant, )

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LOWE’‘S HOME CENTER INC., )

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Garnishee Defendant.

The parties, the United States of America, the judgment
defendant, and the garnishee defendant, agree and stipulate as
follows:

1. The judgment defendant, Social Security Number, and
address are: Teresa T. Pope, XXX-XX-XXXX, P.O. Box 69, Woodland, NC
27897.

2. A Judgment was entered against the judgment defendant,
in this action on October 16, 1996. The total balance due on the
Judgment is $21,580.57, as of January 29, 2003.

3. The garnishee defendant, whose address is P.O. Box 1111,
North Wilkesboro, NC 28656, has in its possession, custody.or
control property of the judgment defendant in the form of wages

paid to the judgment defendant.

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4. The judgment defendant waives services of an application
for a writ of continuing garnishment pursuant to Section 3205 of
the Federal Debt Collection Procedures Act of 1990 (FDCPA), 28
U.S.C. § 3205, and further waives his/her right to a hearing under
the section 3205 and any other process to which the judgment
defendant may be entitled under the FDCPA.

5. The garnishee defendant waives service of an application
for a writ of continuing garnishment pursuant to 28 U.S.C. § 32905
and further waives its right to answer and waives being heard in
this matter and any other process to which the garnishee defendant
may be entitled under the FDCPA.

6. The judgment defendant agrees and stipulates that his/her
wages are subject to garnishment under 28 U.S.C. § 3205 and
expressly agrees and stipulates that the entry of a Final Order in
Garnishment is proper.

7. The parties therefore agree and stipulate to the entry of
a Final Order in Garnishment against the non-exempt wages of the
judgment defendant. It is expressly agreed and stipulated to by
‘the parties that the garnishee defendant shall pay to the United
States the total sum of $75.00 per month, which shall be withheld
from the wages owed the judgment defendant. These payments shall
begin on March 20, 2003 and continue each month until the debt is
paid in full. In July, 2005, a re-evaluation of this debt shall be

conducted and any necessary adjustments to this payment plan made.

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8. These sums are to be applied upon the judgment rendered
in this cause. These payments are to continue until the unpaid
balance, plus accruing interest, is fully paid and satisfied.

Checks should be made payable to:

U. S. DEPARTMENT OF JUSTICE

and mailed to:
U. S. Attorneys Office
Financial Litigation Unit
310 New Bern Avenue
Suite 800, Federal Building
Raleigh, NC 27601-1461
9. Nothing in this agreement prevents the plaintiff from
pursuing administrative offsets, including that by Internal Revenue
Service, and the judgment defendant specifically consents to the
offset. Any payments applied to this claim by the Internal Revenue
Service as a result of tax return offsets will be credited as a
payment to the existing balance and will not be included as part of
the periodic payments, nor will it affect the periodic payments.
10. The judgment defendant can at any time, request an
accounting of the funds garnished. However, the judgment defendant

hereby knowingly waives any rights that he/she may have under 28

U.S.C. § 3205(c) (9) to any automatic accounting.

APPROVED AND SO ORDERED this 7 day of Aprud ,

| aga States Disighct Judge

2003.

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Assistant United

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Judgment Defendan

Teresa T. Pope
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